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Telephone: (503) 727-1003
         For Defendant United States of America

                     IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF OREGON
  In re                                   Case No. 21-31142-dwh11

  Edward A. Ariniello, Jr.,                        UNITED STATES OF AMERICA’S
                                                   OBJECTION TO CONFIRMATION OF
                                                   PLAN AND MOTION TO DISMISS
                   Debtor.


          Creditor Internal Revenue Service (“IRS”) objects to the confirmation of Debtor’s plan

and moves to dismiss as the plan fails to provide for the secured claim of the IRS.

                      FAILURE TO PROVIDE FOR SECURED CLAIM

          The IRS timely filed a Proof of Claim in this matter on June 11, 2021, and has since

amended the proof of claim, most recently on March 4, 2022. The IRS’s claim of $97,714.43

reflects a secured claim of $42,042.00 and an unsecured claim of $55,673.43. Claim 2-4.

          On February 18, 2022, Debtor filed Debtor’s First Amended Plan of Reorganization

(“Amended Plan”) (ECF 95) which fails to provide for the IRS’s priority tax claims. The

Amended Plan says “[t]he claim of the Internal Revenue Service is being paid in full pursuant

to the terms of the USOH Plan.” ECF 95 at 4. However, Debtor in matter In re U.S. Outdoor

Holding, LLC, Case No. 20-32571-dwh11, has failed to make payments according to its plan

and is seeking a post-confirmation modification of the plan (ECF 161, 162, Case 20-32571).

There is also a pending motion to convert the matter from a Chapter 11 case to a Chapter 7

matter. ECF 156, Case 20-32571. Debtor’s proposed plan to provide for the IRS’s claim

through U.S. Outdoor Holding’s faltering plan is no plan at all.


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         Debtor’s plan fails fully provide for the IRS as a secured creditor. Debtors must fully

provide for and pay the tax claims as part of the monthly plan payments for this matter, not as

part of a plan in another matter with an uncertain future. 11 U.S.C §1325(a)(5)(B)(ii).

         WHEREFORE, the United States prays that confirmation of Debtor’s chapter 13 plan

be denied and this bankruptcy be dismissed.

         DATED: March 16, 2022.
                                               SCOTT ERIK ASPHAUG, OSB #833674
                                               United States Attorney
                                               District of Oregon

                                        By:    /s/ Jessie D. Young
                                               Jessie D. Young, OSB #135246
                                               Assistant United States Attorney




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                                CERTIFICATE OF SERVICE

         IT IS HEREBY CERTIFIED that service of the foregoing UNITED STATES OF

AMERICA’S OBJECTION TO CONFIRMATION OF PLAN AND MOTION TO DISMISS

was served by mailing a true copy addressed to the following, except those designated as

receiving ECF notice, who will be served electronically by ECF:

Nicholas J. Henderson, Motschenbacher & Blattner, LLP, Attorney for debtor       ECF Only
Kenneth S Eiler, Trustee                                                         ECF Only

Edward A. Ariniello, Jr.
29455 SW Heater Rd.
Sherwood, OR 97140

Dated: March 16, 2022.

                                            /s/ Jessie Young
                                            Jessie Young, OSB #135246
                                            Assistant United States Attorney




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